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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

         AFFIRMATION OF CYNTHIA CHEN IN SUPPORT OF DEFENDANTS’
                   MOTION TO DISMISS THE COMPLAINT

        I, Cynthia Chen, hereby affirm as follows:

        1.      I am an attorney duly admitted to practice in the State of New York and before

this Court.

        2.      I am associated with the law firm of Spears & Imes LLP, counsel for Defendants

in the above-captioned action.

        3.      I respectfully submit this affirmation in support of Defendants’ Motion to Dismiss

(ECF No. 63).

        4.      Paragraphs 7, 10, 13, and 31 of my affirmation refer to transcripts of certain video

footage referred to by Plaintiffs in their Complaint. With respect to each of the transcripts

referenced in my affirmation, I have watched and listened to the video footage in question, and I

have reviewed the transcript that purports to reflect what is contained on the video footage. I am

therefore able to state that, with respect to each, the transcript fairly and accurately reflects (a)
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what is said by the participants in the video footage in question, and (b) certain text that appears

in the video footage, plainly visible to the viewer but not spoken or otherwise audible.

       5.      Attached hereto as Exhibit 1A and 1B are true and correct copies of sides one and

two of the ACN Opportunity Disc, “U.S. Version 4.0, OppDsc_RP_P_061010.” Paragraphs 91,

112, 140, and 145 of the Complaint quote material that appears in Exhibit 1B.

       6.      Attached hereto as Exhibit 1C is a true and correct copy of the packaging in

which Exhibits 1A and 1B appear.

       7.      Attached hereto as Exhibit 1-T, as an aid to the Court, is a transcript of Exhibits

1A and 1B.

       8.      Attached hereto as Exhibit 2A and 2B are true and correct copies of sides one and

two the ACN Opportunity Disc,“U.S. Version 5.1, OppDsc_RP_P_061011.” Paragraphs 91,

122, and 140 of the Complaint quote material that appears in Exhibit 2B.

       9.      Attached hereto as Exhibit 2C is a true and correct copy of the packaging in

which Exhibits 2A and Exhibit 2B appear.

       10.     Attached hereto as Exhibit 2-T, as an aid to the Court, is a transcript of Exhibits

2A and 2B.

       11.     Attached hereto as Exhibit 3A is a true and correct copy of the ACN Opportunity

Disc, “U.S. Version 7.0, OppDsc_RP_P_011513.” Paragraphs 91, 122, and 140 of the

Complaint quote material that appears in Exhibit 3A.

       12.     Attached hereto as Exhibit 3B is a true and correct copy of packaging in which

Exhibit 3A appears.

       13.     Attached hereto as Exhibit 3-T, as an aid to the Court, is a transcript of Exhibit

3A.



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       14.     Attached hereto as Exhibit 4 is a true and correct copy of ACN Newsmagazine, Q4

2005. Paragraph 75 of the Complaint quotes material contained in Exhibit 4, and Paragraphs 79,

138, and 255 of the Complaint refer to Exhibit 4.

       15.      Attached hereto as Exhibit 5 is a true and correct copy of ACN Newsmagazine,

Q2 2006. Paragraph 76 of the Complaint quotes material contained in Exhibit 5, and Paragraphs

147 and 148 of the Complaint refer to Exhibit 5.

       16.     Attached hereto as Exhibit 6 is a true and correct copy of ACN Newsmagazine, Q2

2007. Paragraph 79 of the Complaint refers to material contained in Exhibit 6, and Paragraphs

255 and 256 of the Complaint refer to Exhibit 6.

       17.     Attached hereto as Exhibit 7 is a true and correct copy of the web.archive.org

version of Donald J. Trump, From the Mind of Donald J. Trump, ACN, Aug. 7, 2013. Paragraph

79 of the Complaint quotes material contained in Exhibit 7, and Paragraph 80 of the Complaint

refers to Exhibit 7.

       18.     Attached hereto as Exhibit 8 is a true and correct copy of the web.archive.org

version of Catching the Eye of a Billionaire: Donald J. Trump and ACN, ACN, Paragraph 81 of

the Complaint quotes material contained in Exhibit 8.

       19.     Attached hereto as Exhibit 9 is a true and correct copy of the web.archive.org

version of Debbie Davis, ACN & The Celebrity Apprentice: Next Steps, ACN, Apr. 1, 2011.

Paragraph 86 of the Complaint quotes material contained in Exhibit 9, and Paragraph 87 of the

Complaint refers to Exhibit 9.

       20.     Attached hereto as Exhibit 10 is a true and correct copy of Donald J. Trump,

“Why Network Marketing?”, Success From Home, Aug. 2011. Paragraph 97 of the Complaint

quotes material contained in Exhibit 10.



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       21.     Attached hereto as Exhibit 11 is a true and correct copy of Anne Archer, “Direct

Selling in the Age of Donald J. Trump”, Success From Home, Aug. 2010. Paragraph 98 of the

Complaint quotes material contained in Exhibit 11, and Paragraphs 99, 111, 113, and 139 refer to

Exhibit 11.

       22.     Attached hereto as Exhibit 12 is a true and correct copy of ACN Goes Primetime

with Encore Appearance on Donald J. Trump’s The Celebrity Apprentice, ACN, Mar. 16, 2011.

Paragraph 114 of the Complaint quotes material contained in Exhibit 12.

       23.     Attached hereto as Exhibit 13 is a true and correct copy of ACN Welcomes

Representatives to Hometown for International Training Event, ACN, Aug. 30, 2010. Paragraph

119 of the Complaint quotes material contained in Exhibit 13.

       24.     Attached hereto as Exhibit 14 is a true and correct copy of Beth Douglass Silcox,

“Recognizing a Winner”, Success From Home, Sept. 2013. Paragraph 139 of the Complaint

quotes material contained in Exhibit 14.

       25.     Attached hereto as Exhibit 15 is a true and correct copy of Barbara Seale, “The

Wizard of Winning”, Success From Home, July 2012. Paragraph 146 of the Complaint quotes

material contained in Exhibit 15.

       26.     Attached hereto as Exhibit 16 is a true and correct copy of Anne Archer,

“Catching the Eye of a Billionaire”, Success From Home, Aug. 2011. Paragraph 149 of the

Complaint quotes material contained in Exhibit 16.

       27.     Attached hereto as Exhibit 17 is a true and correct copy of the web.archive.org

version of A New Day at ACN, ACN in Action: North America, ACN (Feb. 17, 2008). Paragraph

256 of the Complaint quotes material contained in Exhibit 17.




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       28.     Attached hereto as Exhibit 18 is a true and correct copy of an ACN Independent

Business Owner Agreement (“IBO Agreement”).

       29.     Attached hereto as Exhibit 19 is a true and correct copy of an ACN IBO

Agreement.

       30.     Attached hereto as Exhibit 20 is a true and correct copy of an ACN IBO

Agreement.

       31.     Attached hereto as Exhibit 21-T is a transcript of ACN ON THE APPRENTICE,

YouTube, Uploaded Jul. 31, 2011, available at https://youtube.com/watch?v=mxTqWtNSV2w.

Paragraphs 207 and 208 of the Complaint allege that Plaintiff Richard Roe viewed on YouTube

an episode of The Celebrity Apprentice in which Mr. Trump stated he knew ACN well, language

that appears in substantially that form in Exhibit 21-T.

       I affirm under penalty of perjury that the foregoing is true and correct.

Dated: January 14. 2019
       New York, New York

                                                      Respectfully submitted,

                                                      SPEARS & IMES LLP
                                                      /s/ Cynthia Chen
                                                      Cynthia Chen
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